Case 3:88-cr-00769-DMS          Document 253         Filed 08/26/09      PageID.363        Page 1 of 2



  1
  2
  3
  4
  5
  6
  7
  8                             UNITED STATES DISTRICT COURT
  9                          SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    MARTIN EDWARD WALTERS,                                      CASE NO. 08cv0924 DMS (related
                                                                   case no. 88cr0769 DMS)
 12                                          Petitioner,
                 vs.                                               ORDER DENYING REQUEST
 13                                                                FOR CERTIFICATE OF
                                                                   APPEALABILITY
 14    UNITED STATES OF AMERICA,
 15                                        Respondent.
 16
             On February 12, 2009, this Court issued an Order denying Petitioner Martin Edward Walter’s
 17
      motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. (Doc. 247.)
 18
      Petitioner filed a notice of appeal and an application for certificate of appealability,1 on August 19,
 19
      2009. (Doc. 251.)
 20
             A certificate of appealability is authorized “if the applicant has made a substantial showing of
 21
      the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). “A petitioner satisfies this standard by
 22
      demonstrating that jurists of reason could disagree with the district court’s resolution of his
 23
      constitutional claims or that jurists could conclude the issues presented are adequate to deserve
 24
      encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003).
 25
 26
             1
               In his application, Petitioner indicates that he did not receive a copy of the February 12, 2009
 27   Order. The Court's docket reflects that the Order was apparently sent to the address then on file for
      Petitioner, but was returned by the post office as undeliverable on February 20, 2009. (Doc. 248.)
 28   Petitioner thereafter filed a notice of change of address with the Court. (Doc. 249.)


                                                           -1-                                         08cv0924
Case 3:88-cr-00769-DMS          Document 253       Filed 08/26/09      PageID.364       Page 2 of 2



  1           Having reviewed the application, petition, and the February 12, 2009 Order denying the
  2   petition, the Court finds Petitioner has failed to demonstrate that reasonable jurists would find this
  3   Court’s denial of the petition debatable. Therefore, the Court denies Petitioner’s request for a
  4   certificate of appealability.
  5   IT IS SO ORDERED.
  6   DATED: August 26, 2009
  7
  8                                                   HON. DANA M. SABRAW
                                                      United States District Judge
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                                      -2-                                            08cv0924
